ILND 450 (Rev. 10/13) Judgment in a Civil Action


                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

The Chamberlain Group, Inc.                        ,

Plaintiff(s),
                                                                   Case No. 16 C 6097
v.                                                                 Judge Harry D. Leinenweber

Techtronic Industries Co., Ltd. et al                   ,

Defendant(s).

                                                       JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
          Defendant(s) shall recover costs from plaintiff(s).


                other: For the reasons stated in the Court's 7/31/18 order, the attorneys' fees awarded to
Chamberlain by this Court's earlier ruling are amended to include an additional fee calculation. See
Chamberlain Grp., Inc. v. Techtronic Indus. Co., No. 16 C 6097, 2018 WL 2332461, at *29-32 (N.D. Ill. May
23, 2018). The total fee award is now $5,210,776.60. Chamberlain's Motion for Enhanced Supplemental
Damages (Dkt. 754) is granted. TTI's Motion for an ongoing royalty (Dkt. 727) is granted and the rate is set at
$4.00 per unit. The Court enters final judgment.

This action was (check one):

     tried by a jury with Judge Harry D. Leinenweber presiding, and the jury has rendered a verdict.
     tried by Judge Harry D. Leinenweber without a jury and the above decision was reached.
     decided by Judge Harry D. Leinenweber on a motion.
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Date: 7/31/2018                                    Thomas G. Bruton, Clerk of Court

                                                   Melanie A. Foster, Deputy Clerk
